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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 ONYX THERAPEUTICS, INC.,                             )
                                                      )
                        Plaintiff,                    )
                                                      )
                V.                                    ) C.A. No. 16-988 (LPS), 16-1000 (LPS)
                                                      )
 SAGENT PHARMACEUTICALS, INC.,                        )
                                                      )
                        Defendant.                    )

                                      CONSENT JUDGMENT

                Onyx Therapeutics, Inc. ("Onyx"), and Sagent Pharmaceuticals, Inc. ("Sagent"),

 parties in the above-captioned action, have agreed to terms and conditions representing a

 negotiated settlement of this action and have set forth those terms and conditions in a Settlement

 Agreement (the "Settlement Agreement").           Now the parties, by their respective undersigned

 attorneys, hereby stipulate and consent to entry of judgment and an injunction in this action as

 follows:

                IT IS thi~   7:      of /1J\_   "j ,2019:
                ORDERED, ADJUDGED AND DECREED as follows:

                1.      This District Court has jurisdiction over the subject matter of the above

 action and has personal jurisdiction over the parties.

                2.      As used in this Consent Judgment, (i) the term "Sagent Product" shall

 mean a drug product sold, offered for sale or distributed pursuant to Abbreviated New Drug

 Application No. 209216 (and defined in greater detail in the Settlement Agreement); and (ii) the

 term "Affiliate" shall mean, with respect to a Party, any entity or person that, directly or

 indirectly through one or more intermediaries, controls, is controlled by, or is under common

 control with such Party. For purposes of this definition, "control" means (a) ownership, directly
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 or through one or more intermediaries, of (i) more than fifty percent (50%) of the shares of stock

 entitled to vote for the election of directors, in the case of a corporation, or (ii) more than fifty

 percent (50%) of the equity interests in the case of any other type of legal entity or status as a

 general partner in any partnership, or (b) any other arrangement whereby an entity or person has

 the right to elect a majority of the board of directors or equivalent governing body of a

 corporation or other entity or the right to direct the management and policies of a corporation or

 other entity.

                 3.     Except as specifically authorized pursuant to the Settlement Agreement or

 authorized by 35 U.S.C. § 271(e)(l), Sagent, including any of its Affiliates, successors and

 assigns, is enjoined from infringing United States Patent Numbers 7,417,042, 7,737,112, and

 8,207,125, on its own part or through any Affiliate, by making, having made, using, selling,

 offering to sell, or importing the Sagent Product.

                 4.     Compliance with this Consent Judgment may be enforced by Onyx and

 Sagent and their successors in interest, or assigns, as permitted by the terms of the Settlement

 Agreement.

                 5.     This Court retains jurisdiction to enforce or supervise performance under

 this Consent Judgment and the Settlement Agreement.

                 6.     All claims, counterclaims, affirmative defenses and demands in this action

 by either Onyx or Sagent are hereby dismissed with prejudice and without costs, disbursements

 or attorneys' fees to any party.
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 May 3, 2019
